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                                           UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF CONNECTICUT
                                                 HARTFORD DIVISION

              In re: HYNES, TRACY L.                                                            § Case No. 15-20962-JJT
                                                                                                §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on May 29, 2015. The undersigned trustee was appointed on May 29, 2015.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $               100,000.00

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                0.00
                                    Administrative expenses                                               0.00
                                    Bank service fees                                                     0.00
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                    30,395.45
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $                69,604.55
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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               6. The deadline for filing non-governmental claims in this case was 07/06/2016
       and the deadline for filing governmental claims was 11/25/2015. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $5,513.33. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $5,513.33, for a total compensation of $5,513.33. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $26.22, for total expenses of
              2
       $26.22.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 08/14/2018                    By: /s/JOHN J. O'NEIL JR.
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                                                                                                     Exhibit A


                                                                                 Form 1                                                                              Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 15-20962-JJT                                                                Trustee:          (270020)   JOHN J. O'NEIL JR.
Case Name:         HYNES, TRACY L.                                                       Filed (f) or Converted (c): 05/29/15 (f)
                                                                                         §341(a) Meeting Date:        07/08/15
Period Ending: 08/14/18                                                                  Claims Bar Date:             07/06/16

                                1                                        2                            3                    4                 5                   6

                     Asset Description                               Petition/             Estimated Net Value         Property        Sale/Funds           Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,   Abandoned        Received by       Administered (FA)/
                                                                      Values             Less Liens, Exemptions,      OA=§554(a)        the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                            Remaining Assets

 1        295 Ridge Road, Unit 2, Wethersfield 100% owner               90,000.00                             0.00                                0.00                   FA

 2        Cash on hand                                                        20.00                           0.00                                0.00                   FA

 3        Bank of America - checking (#6489)                             1,612.97                             0.00                                0.00                   FA

 4        Bank of America - savings (#6886)                                   14.66                           0.00                                0.00                   FA

 5        TD Bank - checking (#2172)                                         206.92                           0.00                                0.00                   FA

 6        Miscellaneous household goods                                  2,000.00                             0.00                                0.00                   FA

 7        Miscellaneous clothing                                             800.00                           0.00                                0.00                   FA

 8        Miscellaneous jewelry, watch                                   1,300.00                             0.00                                0.00                   FA

 9        Term life (through employment) - no cash value T                     0.00                           0.00                                0.00                   FA

10        401k (through employment) - not an asset of the                      0.00                           0.00                                0.00                   FA

11        2 IRAS (Personal)                                                    0.00                           0.00                                0.00                   FA

12        Tracy Hynes (100% owner)-No Cash Value                               0.00                           0.00                                0.00                   FA

13        Tatoo technician license                                             0.00                           0.00                                0.00                   FA

14        2010 Kia Soul                                                  6,725.00                             0.00                                0.00                   FA

15        Misc equipment, supplies, etc used in tattoo bus               2,700.00                             0.00                                0.00                   FA

16        1 dog                                                               20.00                           0.00                                0.00                   FA

17        Misc Hand and Garden Tools                                         300.00                           0.00                                0.00                   FA

18        Personal Injury Claim-Slip and Fall Claim (u)                  Unknown                         69,604.55                          100,000.00                   FA
           Atty Gerald DelPiano appointed to pursue PI Claim
          Exemption of $30,395.45 claimed in PI Claim per
          Amended Sch C filed 6-9-15

 18      Assets      Totals (Excluding unknown values)                $105,699.55                     $69,604.55                           $100,000.00                $0.00



      Major Activities Affecting Case Closing:

                  07/30/18 Partial settlement funds received


                  06/18/18 Order Approving Settlement entered. Awaiting receipt of settlement funds


                  041918 Atty DelPiano advises that Settlement offer of $100,000.00 has been received.



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                                                                                                                                                                                    Exhibit A


                                                                                   Form 1                                                                                          Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 15-20962-JJT                                                                    Trustee:         (270020)       JOHN J. O'NEIL JR.
Case Name:       HYNES, TRACY L.                                                             Filed (f) or Converted (c): 05/29/15 (f)
                                                                                             §341(a) Meeting Date:           07/08/15
Period Ending: 08/14/18                                                                      Claims Bar Date:                07/06/16

                              1                                            2                              3                         4                    5                     6

                    Asset Description                                  Petition/             Estimated Net Value              Property             Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled        (Value Determined By Trustee,        Abandoned             Received by        Administered (FA)/
                                                                        Values             Less Liens, Exemptions,           OA=§554(a)             the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                                                       Remaining Assets

                03/31/18 Status Conference scheduled in Superior Court on 4-19-18.


                12/30/17 No Settlement offers received to date. Trial Management conference scheduled for 6-8-18 with Jury Selection/Trial set for 6-14-18.


                08/20/17 Trial daye june 2018 - Discovery proceeding...no settlement discussion antivipated until pre trial early June 18
                3-31-17 Scheduling Conference proceeding on April 17th, 2017. No offers of settlement to date.


                12-10-16 Advised by counsel G. DelPiano matter has not settled and litigation has been filed ocpy of writ retern date 12/20/16 Docket # CV 16-6073713S Hartford
                Superior Court


                9.15.16 Spoke to counsel. Is attempting to arrive at settlement. Discussed effect of exemptions on claim.


                4-5-16 Atty DelPiano advises that debtor is still receiving physical therapy. After completion and evaluation a rating for impairment will occur. Estimates that she will
                be in therapy for several more months. Claims representatives for condo association and maintenance company have been contacted.


                Review of tort claim viability...had been declined by counsel..will review in-house
                Tort claim is , due to the extensive injuty, felt to have value by counsel....counsel appointed
                and is preparing to prosecute claim based on correspondence dated April 4th

     Initial Projected Date Of Final Report (TFR):       December 31, 2016                     Current Projected Date Of Final Report (TFR):          August 14, 2018 (Actual)




                                                                                                                                                  Printed: 08/14/2018 02:16 PM      V.14.14
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                                                                                                                                                                             Exhibit B


                                                                              Form 2                                                                                         Page: 1

                                                  Cash Receipts And Disbursements Record
Case Number:         15-20962-JJT                                                                Trustee:            JOHN J. O'NEIL JR. (270020)
Case Name:           HYNES, TRACY L.                                                             Bank Name:          Rabobank, N.A.
                                                                                                 Account:            ******6566 - Checking Account
Taxpayer ID #:       **-***9728                                                                  Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 08/14/18                                                                          Separate Bond: N/A

   1             2                         3                                   4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements            Checking
  Date      Check #           Paid To / Received From           Description of Transaction                  T-Code              $                  $               Account Balance
07/30/18       {18}        UTICA NATIONAL INSURANCE     PAYMENT ON BEHALF OF DW BURR                        1242-000             60,000.00                                60,000.00
                           GROUP                        LANDSCAPE FOR SETTLEMENT OF PI
                                                        CLAIM
08/02/18       {18}        COMMUNITY ASSOCIATION        PAYMENT OF CLAIM VS THE GREENS AT                   1242-000             40,000.00                              100,000.00
                           UNDERWRITERS OF AMERICA      GILETTE RIDGE
08/02/18       101         TRACY L. HYNES               Exemption in Personal Injury Claim per              8100-002                                   30,395.45          69,604.55
                                                        Amended Schedule C dated 6-9-15

                                                                             ACCOUNT TOTALS                                    100,000.00              30,395.45        $69,604.55
                                                                                    Less: Bank Transfers                              0.00                  0.00
                                                                             Subtotal                                          100,000.00              30,395.45
                                                                                    Less: Payments to Debtors                                          30,395.45
                                                                             NET Receipts / Disbursements                     $100,000.00                  $0.00



                                                                                                                                   Net             Net                    Account
                                                                             TOTAL - ALL ACCOUNTS                                Receipts     Disbursements               Balances

                                                                             Checking # ******6566                             100,000.00                   0.00          69,604.55

                                                                                                                              $100,000.00                  $0.00        $69,604.55




{} Asset reference(s)                                                                                                                     Printed: 08/14/2018 02:16 PM       V.14.14
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                                                      EXHIBIT C
                                      Case: 15-20962-JJT HYNES, TRACY L.
                                                                                                         Claims Bar Date:   07/06/16
 Claim   Claimant Name /                       Claim Type/    Claim Ref./        Amount Filed/               Paid            Claim
Number   <Category>, Priority                  Date Filed     Notes                  Allowed                to Date         Balance
         JOHN J. O'NEIL JR.                    Admin Ch. 7                                $5,513.33            $0.00        $5,513.33
         255 MAIN STREET                       05/29/15                                   $5,513.33
                                                              [Updated by Surplus to Debtor Report based on Net Estate Value:
         HARTFORD, CT 06106                                   47633.34]


         <2100-00 Trustee Compensation>, 200
         JOHN J. O'NEIL JR.                    Admin Ch. 7                                  $26.22             $0.00             $26.22
         255 MAIN STREET                       05/29/15                                     $26.22
         HARTFORD, CT 06106
         <2200-00 Trustee Expenses>, 200
 1       Quantum3 Group LLC as agent for       Unsecured                                   $437.68             $0.00            $437.68
         MOMA Funding LLC                      04/11/16                                    $437.68
         PO Box 788                                           Pier One
         Kirkland, WA 98083-0788                              Okay as General Unsecured Claim


         <7100-00 General Unsecured § 726(a)(2)>, 610
 1I      Quantum3 Group LLC as agent for       Unsecured                                     $3.64             $0.00              $3.64
         MOMA Funding LLC                      04/11/16                                      $3.64
         PO Box 788
         Kirkland, WA 98083-0788
         <7990-00 Surplus Cases Interest on Unsecured Claims (including priority)>, 640
 2       Quantum3 Group LLC as agent for       Unsecured                                   $119.71             $0.00            $119.71
         MOMA Funding LLC                      04/11/16                                    $119.71
         PO Box 788                                           Ann Taylor/Comenity Bank
         Kirkland, WA 98083-0788                              Okay as General Unsecured Claim


         <7100-00 General Unsecured § 726(a)(2)>, 610
 2I      Quantum3 Group LLC as agent for       Unsecured                                     $1.00             $0.00              $1.00
         MOMA Funding LLC                      04/11/16                                      $1.00
         PO Box 788
         Kirkland, WA 98083-0788
         <7990-00 Surplus Cases Interest on Unsecured Claims (including priority)>, 640
 3       Discover Bank                         Unsecured                                  $6,551.62            $0.00        $6,551.62
         Discover Products INC                 04/15/16                                   $6,551.62
         P.O. Box 3025                                        Okay as General Unsecured Claim
         New Albany, OH 43054
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3I      Discover Bank                         Unsecured                                    $54.56             $0.00             $54.56
         Discover Products INC                 04/15/16                                     $54.56
         P.O. Box 3025
         New Albany, OH 43054
         <7990-00 Surplus Cases Interest on Unsecured Claims (including priority)>, 640
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                                                         EXHIBIT C
                                         Case: 15-20962-JJT HYNES, TRACY L.
                                                                                                            Claims Bar Date:   07/06/16
 Claim    Claimant Name /                        Claim Type/    Claim Ref./        Amount Filed/               Paid             Claim
Number    <Category>, Priority                   Date Filed     Notes                  Allowed                to Date          Balance
  4       Capital One Bank (USA), N.A.           Unsecured                                  $438.34              $0.00           $438.34
          PO Box 71083                           04/23/16                                   $438.34
                                                                Okay as General Unsecured Claim
          Charlotte, NC 28272-1083
          <7100-00 General Unsecured § 726(a)(2)>, 610
  4I      Capital One Bank (USA), N.A.           Unsecured                                    $3.65              $0.00             $3.65
          PO Box 71083                           04/23/16                                     $3.65
          Charlotte, NC 28272-1083
          <7990-00 Surplus Cases Interest on Unsecured Claims (including priority)>, 640
EXEMPT    TRACY L. HYNES                         Secured                                $30,395.45          $30,395.45             $0.00
          46 Argyle Avenue                       05/29/15                               $30,395.45
                                                                EXEMPTION IN PI CLAIM
          West Hartford, CT 06107
          <8100-00 Exemptions>, 100
ADMIN1    Gerald A. Del Piano, Esq.              Admin Ch. 7                               $1,150.26             $0.00          $1,150.26
          The Law Office of Gerald Del Piano,    05/29/15                                  $1,150.26
          LLC
          84 Connecticut Boulevard
          East Hartford, CT 06108
          <3220-00 Attorney for Trustee Expenses (Other Firm)>, 200
ADMIN2    Gerald A. Del Piano, Esq.              Admin Ch. 7                            $33,333.33               $0.00         $33,333.33
          The Law Office of Gerald Del Piano,    05/29/15                               $33,333.33
          LLC
          84 Connecticut Boulevard
          East Hartford, CT 06108
          <3210-00 Attorney for Trustee Fees (Other Firm)>, 200
SURPLUS   TRACY L. HYNES                         Unsecured                              $21,971.21               $0.00         $21,971.21
          46 Argyle Avenue                       05/29/15                               $21,971.21
          West Hartford, CT 06107
          <8200-00 Surplus Funds Paid to Debtor § 726 (a)(6) (incl pmts to shareholders & ltd part)>, 650

                                                                                        Case Total:         $30,395.45         $69,604.55
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                                  TRUSTEE'S PROPOSED DISTRIBUTION                                      Exhibit D

            Case No.: 15-20962-JJT
            Case Name: HYNES, TRACY L.
            Trustee Name: JOHN J. O'NEIL JR.
                                               Balance on hand:                          $           69,604.55
             Claims of secured creditors will be paid as follows:

 Claim        Claimant                              Claim Allowed Amount Interim Payments              Proposed
 No.                                              Asserted       of Claim          to Date             Payment
                                                     None
                                               Total to be paid to secured creditors:    $                0.00
                                               Remaining balance:                        $           69,604.55

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                            Total Requested Interim Payments        Proposed
                                                                                       to Date       Payment
Trustee, Fees - JOHN J. O'NEIL JR.                                   5,513.33                0.00       5,513.33
Trustee, Expenses - JOHN J. O'NEIL JR.                                  26.22                0.00           26.22
Attorney for Trustee, Fees - Gerald A. Del Piano, Esq.              33,333.33                0.00      33,333.33
Attorney for Trustee, Expenses - Gerald A. Del Piano, Esq.           1,150.26                0.00       1,150.26
                           Total to be paid for chapter 7 administration expenses:       $           40,023.14
                           Remaining balance:                                            $           29,581.41

              Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                            Total Requested Interim Payments        Proposed
                                                                                       to Date       Payment
                                                     None
                           Total to be paid for prior chapter administrative expenses:   $                0.00
                           Remaining balance:                                            $           29,581.41




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $           29,581.41
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 7,547.35 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 100.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
  1            Quantum3 Group LLC as agent for                           437.68                 0.00         437.68
  2            Quantum3 Group LLC as agent for                           119.71                 0.00         119.71
  3            Discover Bank                                           6,551.62                 0.00       6,551.62
  4            Capital One Bank (USA), N.A.                              438.34                 0.00         438.34
                             Total to be paid for timely general unsecured claims:          $            7,547.35
                             Remaining balance:                                             $           22,034.06


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
                                                       None
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $           22,034.06


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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments             Proposed
No                                                                   of Claim          to Date            Payment
                                                       None
                                                 Total to be paid for subordinated claims: $                  0.00
                                                 Remaining balance:                        $             22,034.06

              To the extent funds remain after payment in full of all allowed claims, interest will be
        paid at the legal rate of 0.3% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest
        are $62.85. The amounts proposed for payment to each claimant, listed above, shall be
        increased to include the applicable interest.
              The amount of surplus returned to the debtor after payment of all claims and interest is
        $ 21,971.21.




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